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Affidavit of Nationality ti bh

KNOW ALL MEN BY THESE PRESENTS: |, Mimi Michelle Vigil, hereinafter “affiant’,
having first hand knowledge of the facts and aver herein, do hereby declare my proper
and lawful status of dual citizenship with respect to “national” and “state” Citizenship.
From this point forward, Mimi Michelle Vigil, “state” Citizen, a man, Living being, born
on land, on the “state” of the Union, being a Constitutionally protected man, owing |
permanent allegiance to the “state” of the Union and “United States of America’

Affiant invokes all the rights pursuant to the Declaration of Independence, which
says: “We hold these truths to be self-evident, that all men are created equal,
that they are endowed by their Creator with certain unalienable Rights, that
among these are Life, Liberty and the pursuit of Happiness-*

Affiant has unalienable rights from birth, derived from the Creator as a gift, that are not to
be violated

Affiant is a “state” Citizen who possesses full Bill of Rights. The Supreme Court
ruled in Barron v. Mayor of Baltimore 2 US 243, the Bill of Rights (the peoples’
protection) was an aspect of “state” Citizenship, so it was removed from the Federal
Constitution at that time, The Bill of Rights was drafted into every “state” Constitution as
it was to be under state protection to protect the people; therefore, “state” citizenship -

(Cruikshank v. United States 92 US 542, Twin v. State of New Jersey 211 US 78 et al)

allows the people access to the original Bill of Rights

 

“The term ‘United States’ may be used in any one of the following senses: (1) it
may be merely the name of a sovefeign occupying the position analogous to that of
other sovereigns in the family of nations, (2) it may designate the territory over which the
sovereignty of the United States (6) extends, (3) it may be the collective names of the
states which are united by and under the Constitution.” [Hooven & Allison Co. v. Evatt,
324 US 652(1945))

(definition hereinafter referred to as (1) or “1% Hooven, (2) or and Hooven, and (3) or 3”
Hooven)

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From the above Supreme Court ruling, one can see the term “United States” has
several meanings, which have been designated (1), (2), (3), and (G). The term “United
States” can mean (1) the Nation, (2) the Federal territories over which the Federal
Government's sovereignty extends, and (3) the 50 Union states united by and under the
Constitution. The term “United States” can also mean (G), the Federal al government
itself. These meanings are annotated as follows:

United States'-The United States of America—the Nation (political sense)

United States?-D.C., Federal Territory and possessions-(geographical
sense)

United States®-The 50 “states” of the Union-(geographicail sense)
United States®-The Federal Government - (corporate sense)

The Nation referred to as the United States’ is a political entity comprised of the
people (national body politic), their government, and territory. The territory of the United
States’ is divided into two major subdivisions—The United States’ and the United States’,
The United States? comprises the District of Columbia, Federal Territory, and possessions,
The United States’ comprises the 50 sovereign Union states. The Federal Government—
United States® -exercises exclusive territorial jurisdiction over the United States’ pursuant
to art. IV, §3, cl. 2 of the Constitution, and Specified and enumerated subject matter
jurisdiction in the United States® pursuant to art. 1, §8, cl. 1- 18, This aspect of the
Separation of Powers Doctrine was created by design i in order to secure the freedoms of
Americans (“‘national” or “state” Citizen)

The federal areas within these “states” are not included in 3% Hooven definition
because the Congress does not have exclusive legislative authority over any of the 50
sovereign States within the “state” of the Union, All rights are retained by the “states” in
the 9" and 10" Amendments, and affiant is a “state” Citizen of these United States (3
Hooven)’. This is the definition used i in the Constitution for the United States of America

Affiant is protected as 1% Hooven when traveling abroad and comes under the
jurisdiction of the President through his agents in the U. S. State Department, where “U.S.”
refers to the sovereign society.

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Affiant is a “national” and per 8 U.S.C. §1101: (a)(21), a man who is born on the
“state” of the Union, i.e. 3% Hooven and 1* Hooven on occasion, (see Supreme Court
Case Law) and not subject to the exclusive Legislative jurisdiction of Congress as defined
in Article 1, Section 8 (17) of the United States Constitutions (2% Hooven). A man who is
a “national” is subject to the “political jurisdiction’, but not the “legislative jurisdiction” of
their country of origin because they are outside of the territorial reach of its general laws,
The circumstances or qualifications for becoming an “American” (“national’ or “state” .
Citizen) as such cannot be prescribed in any federal statute or law because the Congress
cannot write any law that governs.what happens within the “states” of the Union, as the
above citations indicate (see, for instance, Carter v. Carter Coal Co., 298 U.S. 238 56S.

es .
Ct. 855 (1936)), The “states” of the Union and the people in them are SOVEREIGN, and
their creation, the Federal Government, cannot be greater than its Creator, which is the
“states” of the Union and the people in them, The Federal Government is a SERVANT to
the states of the Union, not their master; the equivalent of an independent contractor that
handles EXTERNAL affairs only, This was confirmed by the Federalist Papers, which .
were written prior to the ratification of the Constitution by the states of the Union in 1789:

“No legislative act [of Congress] contrary to the Constitution can be valid.

To deny this would be to affirm that the deputy (agent) [which is the
federal government] is greater than his principal [the State and the people
in them], that the servant is above the master, that the representatives of
the people are superior to the people; that men, acing by virtue of powers
may _do_not only what their powers do_not authorize, but what_they
forbid...[text omitted it is not otherwise_to be supposed that the
Constitution could intend to enable the representative of the people to
substitute their will to that:of their constituents. It is far more rational to
suppose, that the courts: were designed to be an intermediate body
between the people and the legislature, in order, among other things, to
keep the fatter .within the limits assigned to their authority. The
interpretation of the laws is the proper and peculiar province of the courts.

A_Constitution is, in fact, and must_be regarded by judges, as —

fundamental law. If there should happen to be an irreconcilable
variance between the two, the Constitution is to be preferred to the
Statute.” [Alexander Hamilton, Federalist Paper #78].

 

“The Supreme Court clarified that the constitution ‘implies the third definition
above, which is the United States® when'they heard the following. Notice that they say
“not part of the United States within the meaning of the Constitution” and that the word
“the” implies only ONE rather than multiple GEOGRAPHIC meanings:

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[O’'Donohue v. United States, 289 U.S. 516, 53 S. Ct 740 (1933)]
Fourteenth Amendment “Section 1. All persons born or naturalized i in the United

States[***] and subject of the jurisdiction thereof, are citizens of the United States[*** ]

and of the state wherein they reside. No State shall make or enforce any law which shall
abridge the ee or immunities of citizens of the United states; nor shall any State
deprive any person of life, liberty or property, without due process of law; nor deny to

any person within: ITS [the SIATES'S! lurisdiction ‘the equal protection of the laws.”

The Supreme Court clarifies exactly what the phrase “subject to the jurisdiction” above
means. It means the “political jurisdiction: of the United States** and NOT the
“legislative jurisdiction” (1):

‘This section contemplates two ¢ sources of citizenship, and two sources only,
birth and naturalization, the person declared to be citizens are ‘all persons born or
naturalized in the United States[***], and “subject to the jurisdiction thereof’, the evident
meaning of these last two words is, not merely subject in some respect or degree to the
jurisdiction of the United States[**}, but completely subject to their political jurisdiction,
and owing them direct and immediate allegiance, and the words relate to the time of |
birth in the one case, as they do [169 U.S. 649 9, 725] to the time of naturalization in the
other. Persons not thus subject to: the | jurisdiction of the United states[***] at the time of
birth cannot become so afterwards, except by being naturalized, either individually, as by
proceedings under the naturalization acts, or collectively, as by the force of a treaty by |
which foreign territory is acquired?

(U.S. v. Wena Kim ark 169 U.S. 649, 18 S. Ct. 456: 42 L.Ed. 42 L.Ed. 890 (1898)]

“Political jurisdiction’ is NOT the same as “legislative jurisdiction”. ‘Political jurisdiction”
was defined by the Supreme Court in Minor v. Happersett.

 

“There cannot be a nation without a people. The very idea of a
political community, such as a nation is, implies an [88 U.S. 4 62. 166]
association of person for the promotion of their general welfare. Each
one of the persons associated becomes a member of the nation formed
by the association.

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He owes it allegiance and is entitled to its protection. Allegiance .
and protection are, in this connection, reciprocal obligations. The
one is a compensation for the other; allegiance for protection and
protection for allegiance...

“For convenience it has been found necessary to give a name to this
membership, The object is to designate bya title the person and the relations he bears
to the nation, For this purpose the words ‘subject’, ‘inhabitant’, and ‘citizen’ have been
used, and the choice between them i is sometimes made to depend upon the form of the .

"government, Citizen is not more commonly employed, however, and as it has been
considered better suited to the description of one living under a republican
. overnment, it was adopted by nearly all of the States upon their separation from
Great Britain, and was afterwards adopted in the Articles of Confederation and in
_ the Constitution of the United States[“*“], When used in this sense, it [the word
“citizen”] is understood as conveying the idea of membership of a nation, and

nothing more”

“To determine, then, who were citizens of the United States [***] before the
adoption of the amendment it is necessary to ascertain what persons originally
associated themselves together to form the nation, and what were afterwards

admitted to membership”.

The 1* section of the 14" article [Fourteenth Amendment], to which our attention
is more specifically invited, opens with a definition of citizenship—not only citizenship of
the United States[***}, but citizenship of the states, No such definition was previously
found in the Constitution, nor had any attempt been made to define it by act of

Congress, It had been the occasion of much discussion in the courts, by the executive
departments and in the public journals, It had been said by eminent judges that no man.

' was a citizen of the United states["**] except as he was a citizen of one of the states
composing the Union, Those therefore, who had been born and resided always in

_ the District of Columbia or in the territories, though within the United States[*},
were not citizens [within the Constitution]”.

“Citizens of the United States within the meaning of the Fourteenth Amendment
must be natural and not artificial person; a corporate body is not a citizen of the United

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States, 74 Insurance Co. v. New Orleans, 13 Fed. Cas. 67 (C.C. D. La 1870). Not being

citizens of the United States, corporations accordingly have been declared unable “to
claim the protection of that clause of the Fourteenth amendment which secures the
privileges and immunities of citizens of the United States against abridgment or

impairment by the law of a State.” Orient Ins. Co. v. Daggs, 172 U.S. 557, (1869). This
conclusion was in harmony with the earlier holding in Paul v. Virginia, 75 U.S. (8Wall.)
168 (1869), to the effect that corporations were not within the scope of the privileges and

immunities clause of state Citizenship set out in Article IV, Sec. 2. See also Selover,
Bates & Co. v. Walsh, 226 U.S. 112. 126 (1912); Bera College v. Kentucky, 211 U.S. 45

(1908); Libery Warehouse Co. v. Tobacco Growers, 276 U.S. 71, 89 9 (1928); Grosjean v.

American Press Co., 297 U. S. 233, 244 (1 936)

NOTICE: A Fourteenth Amendment person can never be a corporation Or artificial
person

In the Fourteenth Amendment, Subject to THE jurisdiction of the “United

States” means POLITICAL jurisdiction, Note the use of the word “THE” means the
STATES and NOT the national government: “This section [the Fourteenth Amendment] .
contemplates two sources of citizenship, and two sources only, -birth and naturalization,
the persons declared to be citizens are ‘all persons bom or naturalized i in the United
States, and subject to the jurisdiction thereof,’ The evident meaning of these last words

 

is, not merely subject in some respect or degree to the jurisdiction of the United States,

but completely subject to their [plural not singular, meaning states of the Union]
political jurisdiction and owing THE [the -State” of the Union] direct and immediate

allegiance”

[U.S. v. Wong Kim ark, 169 U.S. 649, 1 8 S. Ct 456; 42 L. Ed. 890 (1898)]. It .

EXCLUDES the legislative jurisdiction of the NATIONAL government,
CONSTITUTIONAL states are legislatively “foreign” and “alien” in relation to the
NATIONAL government: “The United States Government j is a foreign corporation with
respect to a state”:

 

[N.Y. v. re Merriam 36 N.E. E505: 141 N.Y. 479; affirmed 16 S. Ct 1073; 41 L. 41 L. Ed.
287) [underlines added] [19 Corpus, Juris, Secundum (D.J.S.), Corporations,
_-§884]

 

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People in the “states” of the Union are NOT those on federal territory:

“It is impossible to construe the words ‘subject to the jurisdiction thereof,’ in the

concluding sentence of the same section; or to hold that person ‘within the jurisdiction’ of
one of the states of the Union are not ‘subject to the jurisdiction of the United states[***].”

[U.S. v. Wong Kim ark, 169 U.S. 649, 18 S.Ct 456; 42 L.Ed. 890(1898)], emphasis added

Affiant declares that any and all contracts or agreements which indicate affiant is a _
14 Amendment STATUTORY “U.S. citizen’; a 2" Hooven citizen; a citizen of the federal
government and subject to its jurisdiction; are hereby declared to be null and void. Affiant
_ hereby declares that any such contract/agreement was not entered into knowingly,
voluntarily, or intentionally; therefore, was the result of Constructive Fraud, Affiant has also.
claimed, “state” Citizenship and associated unalienable rights with complete immunity to
STATUTORY “U.S. citizen jurisdiction’. :

 

Affiant is aware that bills of attainder are expressly banned by the United States
Constitution as well as the constitutions of the “states” of the union.

If recipient of this affidavit disagrees with any of the facts stated herein, then provide
written Verification in specificity (not opinion, but enacted positive law, regulations and
Supreme Court rulings) within 30 calendar days or forever be e-stopped from challenging
these statements of fact, these facts shall stand in any court

_ DEFINITIONS

nation-—— In American constitutional law the word “state” is applied to the several

members of the American Union.
Black’s Law Dictionary (6" ed. 1990)

nationality—The relationship between a citizen of a nation and the nation itself,
customarily involving allegiance by the citizen and protection by the state;
* membership in a nation. This term is often used synonymously with
citizenship.

Black's Law Dictionary (8" ed. 2004)

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nationality— That quality or character which arises from the fact of a person’s belonging
to a nation or state. Nationality determines the political status of the
individual, especially with reference to allegiance: while domicile
determines his civil [legal/statutory] status. Nationality arises either by
birth or by naturalization.”

Black’s Law Dictionary (6" ed. 1990), p 1025 -

citizenship—The status of being a citizen. There are four ways to acquire citizenship: by
birth in the United States, by Birth in U.S. territories, by birth outside the
US. to U.S. parents, and byr naturalization.

- Black's Law Dictionary, 6 ed 4990)

Dual Citizenship — Citizenship in two different countries. Status of citizens of United
States who reside within a state; i.e., persons who-are born or naturalized
in the U.S. are citizens of the U.S. and the state wherein they reside.

Black's Law Dictionary (6" ed. 1990)

“national”—A person owing permanent allegiance to a “state”. U.S.C.A. § 1101. The
term “national” as used in the phrase “national lof the United States” is
broader than the term “citizen”.

Brassert v. Biddle, D.C. Conn., 59 F. Supp. 457, 462.
‘Black’s Law Dictionary, (6" ed. 1990).

 

“state”—The political system of a body of people who a are politically organized; the
system of rules by which jurisdiction and authority are exercised over such
a body of people. The organ of the state by which its relations with other
states are managed is the government.

Black's Law Dictionary (8° ed. 2004), p. 1407

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Foreign state— A foreign country or nation. The several United States are considered
“foreign” to each other except as regards their relations as common
members of the Union. .

Black's Law Dictionary (8” ed. 2004),p.1407

Foreign States— Nations which are outside of the United States. Term'may also refer to
another state, i.e., a sister state.

Black's Law Dictionary, (6" ed. 1990), p. 648

- Further affiant sayeth naught.

| certify under penalty of perjury that the information provided in this Affidavit of
Nationality is true, correct, and complete to the best of my knowledge and ability, Remedy
for perjury may only be pursued in a state court under common law,

  

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Dated this_“/ "© day of_ Jared 2014 ,

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: aly; BF pur? of fe is /
autograph / Ui Alec: the of
Mimi Michelle-Vigil “state” Citizen,’

State of Colorado, County of Brapahodk , signed or attested before me, this *]
day of Or$o DOr 2014 by Mimi Michele Vigil.

2 Boone —
PRINT NAME—NOTARY PUBLIC—State of Colofado . ROSALBABOONE |

OO NOTARY PUBLIC
Rooalta A song _ -_ STATE OF COLORADO
SIGNATURE—NOTARY PUBLIC NOTARY ID 20134039813

a OO | MY COMMISSION EXPIRES JULY 9, 2017
Commission Expires: "1/ Q/ Ad 19

 

 

 

 

 

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